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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION

TIMOTHY WILLIAMS,

        Petitioner,

-vs-                                                  CASE NO: 8:07-CV-996-T-30MAP
                                                      Crim. Case No. 8:04-cr-367-T-30MAP
UNITED STATES OF AMERICA,

      Respondent.
__________________________________/

                                               ORDER

        THIS CAUSE comes before the Court upon Petitioner’s Motion Requesting to Withdraw
Section 2255 Motion Filed by Conflicting Counsel (Dkt. #9). Upon review and consideration,
it is
        ORDERED AND ADJUDGED that:
        1.       Petitioner’s Motion Requesting to Withdraw Section 2255 Motion Filed by
Conflicting Counsel (Dkt. #9) is GRANTED.
        2.        Petitioner may file his own Section 2255 Motion to Vacate, Set Aside or Correct
Sentence on or before September 26, 2007. Any Section 2255 Motions filed by Petitioner after
September 26, 2007, will be time-barred.
        3.       The Clerk is directed to close this file.
        DONE and ORDERED in Tampa, Florida on August 21, 2007.




Copies furnished to:
All Counsel/Parties of Record

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